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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

United States of America,
Plaintiff,
Vs. Case No.: 24-cr-00372-SEH-7
WAIVER OF DETENTION
HEARING AND CONSENT TO
ORDER OF DETENTION PENDING
FURTHER PROCEEDINGS
Osman Rolando Sanchez,
Defendant.

After being advised in open court of his/her right to a detention hearing pursuant to 18 U.S.C.
§ 3142(f), and after consulting with his/her attorney concerning said hearing, Defendant hereby waives
his/her right to a detention hearing, and consents to the entry of an Order of Detention Pending Further
Proceedings.

At Defendant's request, and upon a finding by a judicial officer that information exists that has
a material bearing on the issues of whether there are conditions of release that will reasonably assure
the appearance of the person as required and the safety of any other person and the community, a
judicial officer will corfduct a detention hearing pursuant to 18 U.S.C. § 3142(f).

“Attorney for Pelendae Osman Rolando ae

ORDER OF DETENTION

Defendant is hereby ordered detained pending further proceedings. Defendant is committed
to the custody of the Attorney General, or his designated representative, for confinement in a
corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. Defendant shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a court of the United States, or on request of an attorney
for the Government, the person in charge of the corrections facility shall deliver the defendant to the
United States Marshal for purpose of an appearance in connection with a court proceeding.

Date: 2/25/2025

Mark T. Steéle, UsS-Magistrate Judge

1A Arraignment Indictment Detention (12/2021)
